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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                     )
 JAMES FLETCHER JR.,                                 )
                                                     )          Case No. 20−cv−04768
                Plaintiff,                           )
                                                     )          Judge Andrea Wood
                v.                                   )
                                                     )          Magistrate Judge Maria Valdez
 JEROME BOGUCKI, ANTHONY                             )
 NORADIN, RAYMOND SCHALK,                            )
 ANTHONY WOJCIK, UNKNOWN CITY                        )
 OF CHICAGO POLICE OFFICERS, and the                 )
 CITY OF CHICAGO                                     )          JURY TRIAL DEMANDED
                                                     )
                Defendants.                          )

                                     JOINT STATUS REPORT

          Plaintiff, James Fletcher, and Defendants City of Chicago, Jerome Bogucki, Anthony

Noradin, Raymond Schalk, and Anthony Wojcik, by their respective attorneys, and in

accordance with the Court’s order on September 30, 2021, Dkt. 59, present this joint status

report.

I.        Status of Discovery

          The parties last joint status report was submitted to the court on April 30, 2021, Dkt. 53.

Since that report was submitted, this court has adjudicated several pending matters before the

Court, including Defendants’ joint motion to dismiss and strike certain claims, Dkt. 57, and the

parties competing motions for entry of a confidentiality order, Dkt. 55-56. In response to those

orders, Defendants have filed supplementary answers to Plaintiff’s complaint, see Dkt. 62-64,

and have produced several rounds of discovery covered by the confidentiality order.

          However, there is still outstanding discovery in the case. For example, third-party

subpoenas remain outstanding, or have only recently been answered. Furthermore, attorneys for
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the Plaintiff and the City have scheduled a meet and confer to discuss the status of document

production in the case. Finally, parties have several depositions to complete, most of which

depend on documents which have yet to be produced or only recently been received.

         Individual Defendants believe there will be at least two discovery disputes that will

require the Court’s involvement. The first concerns withheld and/or redacted documents

produced by the Cook County State’s Attorney’s Office in response to the Individual

Defendants’ subpoena. The second concerns the production of Plaintiff’s phone calls recorded by

the Illinois Department of Corrections. The Individual Defendants are attempting to narrow the

scope of the disputes prior to bringing the appropriate motions before the Court.

         As such, parties believe that a discovery extension is necessary. The parties will meet and

confer on the length of the extension and file a motion for extension of fact discovery shortly.

II.      Settlement Efforts and Referral to Magistrate Judge

         In accordance with the Court’s October 1, 2021 order, Plaintiff tendered a settlement

offer on Defendants on November 1, 2021. Defendants’ responded with a counter-offer on

December 13, 2021. Parties have not yet conferred on the competing demands.

III.     Matters in Need of a Telephonic Hearing

         None.

Respectfully Submitted,

By: /s/ Mariah Garcia

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2021 I caused the foregoing Joint Status Report
with the Clerk of the Court using the ECF system, which sent electronic notification of the filing
on the same day to all counsel of record via the Court’s CM/ECF system.

                                             /s/ Mariah Garcia
                                             Attorney for Plaintiff
